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                                                                         5                                    UNITED STATES DISTRICT COURT
                                                                         6                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    IN RE:                                                   No. 13-MD-02420 YGR (DMR)
                                                                         9                                                             ORDER TO SUBMIT SUPPLEMENTAL
                                                                                       LITHIUM ION BATTERIES                           INFORMATION RE JOINT DISCOVERY
                                                                         10            ANTITRUST LITIGATION                            LETTER [DOCKET NO. 590]
United States District Court




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                               For the Northern District of California




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                                                                         14            The court has received the parties’ joint discovery letter brief regarding their dispute about
                                                                         15   the production of worldwide transaction data (Docket No. 590), which is set for hearing on
                                                                         16   December 18, 2014. In the joint letter, Plaintiffs represent that defendants/defendant groups
                                                                         17   Samsung, LG Chem, Hitachi Maxell, and Toshiba Corp. have agreed to produce to Plaintiffs
                                                                         18   worldwide transaction-level sales and cost data for cells and packs. (Joint Letter 1.) By no later
                                                                         19   than close of business on Tuesday, December 16, 2014, the parties shall file copies of the actual
                                                                         20   agreements between Plaintiffs and those four defendants/defendant groups regarding the production
                                                                         21   of worldwide transaction data, or provide detailed descriptions of those agreements, including any
                                                                         22   temporal or geographic limitations and a description of the information/categories of information
                                                                         23   that will be produced.
                                                                         24            IT IS SO ORDERED.
                                                                         25   Dated: December 15, 2014
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                                                                         27                                                          DONNA M. RYU
                                                                                                                                     United States Magistrate Judge
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